                        IN THE SUPREME COURT OF NORTH CAROLINA

                                         2021-NCSC-131

                                            No. 523A20

                                     Filed 5 November 2021

      IN THE MATTER OF: C.K.I.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from order entered 5 October

     2020 by Judge Robert P. Trivette in District Court, Dare County. This matter was

     calendared in the Supreme Court on 30 September 2021 but determined on the record

     and briefs without oral argument pursuant to Rule 30(f) of the North Carolina Rules

     of Appellate Procedure.


            No brief filed for petitioner-appellee mother.

            No brief filed for appellee Guardian ad Litem.

            Edward Eldred for respondent-appellant father.


            HUDSON, Justice.

¶1          Respondent, the father of the minor child, C.K.I. (Charlie),1 appeals from the

     trial court’s order terminating his parental rights on the ground of willful

     abandonment. We affirm.

                          I.   Factual and Procedural Background

¶2          Petitioner and respondent were in a relationship that began during the



            1 A pseudonym is used throughout the opinion to protect the child’s identity and for

     ease of reading.
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     summer of 2013 but never married. The relationship suffered from substance abuse

     and domestic violence. Charlie was born in February 2014. The couple lived together

     for a month after Charlie’s birth, then separated. Following a domestic incident

     between petitioner and respondent on 4 March 2014 during which Charlie was

     present, the Dare County Department of Social Services (DSS) initiated an

     assessment for child neglect. DSS recommended counseling and informed the parents

     that the child should have a sober caregiver at all times and should not be exposed to

     acts of domestic violence. DSS also responded to incidents of domestic violence in

     April and June 2014.

¶3         Following a 5 June 2014 incident, DSS made a safety resource arrangement

     with Charlie’s maternal grandfather and step-grandmother who agreed that the

     minor child would stay in their home until DSS determined otherwise. DSS referred

     the parents to mental health and substance abuse counseling. Initially, the parents

     were not consistent with their counseling, were unable to maintain appropriate

     housing for an infant, failed to address issues related to domestic violence, and failed

     to demonstrate an ability to provide food, clothing, and shelter for the minor child.

     On 18 September 2014, DSS filed a juvenile petition alleging the minor child was a

     neglected juvenile. By January 2015, petitioner resided with Charlie’s maternal

     grandmother. Respondent resided with his sister. Charlie continued to reside with

     his maternal grandfather and step-grandmother. Following a 28 January 2015
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     hearing, the trial court entered a dispositional order on 23 February 2015 in which it

     adjudicated Charlie a neglected juvenile and granted custody to the maternal

     grandfather and step-grandmother. The matter was converted to a Chapter 50 action,

     and DSS was relieved of further responsibility. The court ordered that petitioner and

     respondent have separate weekly supervised visitation for two hours.

¶4         Following the court’s 23 February 2015 dispositional order, petitioner

     “substantially changed her life.” She established a safe, stable, and appropriate

     residence and maintained a steady job which provided the means and ability to

     provide financially for the minor child. By April 2017, petitioner had provided for the

     child’s basic needs for over a year, and the child had been living with her for more

     than six months. With the support of maternal grandfather and step-grandmother,

     petitioner petitioned for custody of the minor child. Respondent was served with

     notice of the custody hearing but failed to appear or make any communication with

     the court regarding the matter. By order entered 12 April 2017, the trial court

     concluded that it was in the best interests of the minor child that petitioner be

     granted custody, and the court awarded petitioner sole legal and physical custody of

     the minor child.

¶5         On 6 November 2019, petitioner filed a petition for termination of respondent’s

     parental rights. Petitioner alleged that grounds existed to terminate respondent’s

     parental rights on grounds of neglect and abandonment. Petitioner alleged that
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     respondent had not seen the minor child since he was four months old and had not

     provided medical care or financial support for the child since he was one month old.

     Moreover, petitioner alleged that respondent has no relationship with the minor child

     and had not pursued a relationship since March 2014.

¶6         Respondent answered the petition to terminate his parental rights denying

     petitioner’s allegations regarding grounds to terminate his parental rights. The court

     appointed a guardian ad litem for the minor child on 22 January 2020. A hearing on

     the matter took place on 25 September 2020 during which the court heard testimony

     from petitioner, the maternal grandfather, the maternal grandmother, Charlie’s half-

     sibling’s paternal grandmother, petitioner’s boyfriend, respondent, respondent’s

     girlfriend, and the guardian ad litem. On 5 October 2020, the trial court entered its

     order concluding that grounds existed to terminate respondent’s parental rights and

     that termination was in the best interests of the child. Respondent appeals.

                                      II.     Analysis

¶7         Our Juvenile Code provides a two-stage process for terminating parental

     rights. N.C.G.S. §§ 7B-1109, -1110 (2019). At the initial or adjudicatory stage, the

     burden is on the petitioner to establish the existence of any ground for termination

     alleged under N.C.G.S. § 7B-1111(a) based on clear, cogent, and convincing evidence.

     N.C.G.S. § 7B-1109(e)–(f) (2019). “We review a trial court’s adjudication under

     N.C.G.S. § 7B-1109 ‘to determine whether the findings are supported by clear, cogent
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     and convincing evidence and the findings support the conclusions of law.’ ” In re

     C.B.C., 373 N.C. 16, 19 (2019) (quoting In re Montgomery, 311 N.C. 101, 111 (1984)).

     “[F]indings of fact are binding ‘where there is some evidence to support those findings,

     even though the evidence might sustain findings to the contrary.’ ” In re R.D., 376

     N.C. 244, 258 (2020) (quoting In re Montgomery, 311 N.C. at 110–11). “Unchallenged

     findings are deemed to be supported by the evidence and are ‘binding on appeal.’”

     In re K.N.K., 374 N.C. 50, 53 (2020) (quoting In re Z.L.W., 372 N.C. 432, 437 (2019).

     “The trial court’s conclusions of law are reviewable de novo on appeal.” In re J.D.C.H.,

     375 N.C. 335, 337 (2020) (quoting In re C.B.C., 373 N.C. at 19).

¶8         Respondent contends that the trial court erred by terminating his parental

     rights on the grounds of neglect and willful abandonment. Respondent does not

     challenge the trial court’s findings of fact, rather he argues the evidence presented

     does not support the trial court’s conclusions on either ground. Because a single

     ground for terminating parental rights is sufficient to support a termination order,

     this Court can uphold the trial court’s order based on one ground without reviewing

     any remaining ground. In re J.S., 374 N.C. 881, 815 (2020).

¶9         A court may terminate parental rights upon a finding that “[t]he parent has

     willfully abandoned the juvenile for at least six consecutive months immediately

     preceding the filing of the petition or motion[.]” N.C.G.S. § 7B-1111(a)(7) (2019). “The

     most frequently approved definition is that abandonment imports any willful or
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       intentional conduct on the part of the parent which evinces a settled purpose to forego

       all parental duties and relinquish all parental claims to the child.” Pratt v. Bishop,

       257 N.C. 486, 501 (1962); see also In re N.M.H., 375 N.C. 637, 642 (2020). “Whether

       a biological parent has a willful intent to abandon his child is a question of fact to be

       determined from the evidence.” In re B.C.B., 374 N.C. 32, 35 (2020) (quoting In re

       Adoption of Searle, 82 N.C. App. 273, 276 (1986)). “Although the trial court may

       consider a parent’s conduct outside the six-month window in evaluating a parent’s

       credibility and intentions, the ‘determinative’ period for adjudicating willful

       abandonment is the six consecutive months preceding the filing of the petition.” In re

       N.D.A., 373 N.C. 71, 77 (2019) (quoting In re D.E.M., 257 N.C. App. 618, 619 (2018)).

       “If a parent withholds his presence, his love, his care, the opportunity to display filial

       affection, and willfully neglects to lend support and maintenance, such parent

       relinquishes all parental claims and abandons the child.” In re J.D.C.H., 375 N.C.

       335, 338 (2020) (cleaned up).

¶ 10          Here, the determinative six-month period is from 6 May to 6 November 2019.

       In support of its conclusion that grounds exist to terminate respondent’s parental

       rights based on willful abandonment, the trial court made the following unchallenged

       findings of fact:

                     13.   The parties lived together for periods of time prior to
                           the birth of the juvenile. They lived together for
                           about a month after the birth of the juvenile at the
                           home of Petitioner’s mother. There was domestic
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       violence and substance abuse issues in the
       relationship. [DSS] took non-secure custody of the
       juvenile and placed the juvenile with Petitioner’s
       father. The juvenile matter was converted to a
       Chapter 50 Order giving custody to the [minor
       child’s] maternal grandfather. Petitioner later filed
       a motion to modify that Chapter 50 Order and was
       granted custody as previously set forth.

14.    Respondent was slightly involved at birth. He
       attended at least one pre-natal appointment and
       was present at the birth. He helped to set up the
       juvenile’s nurse[r]y at Petitioner’s mother’s home.
       Once [DSS] became involved, Respondent’s
       involvement dwindled off and he was non-compliant
       with his case plan with the Department.

15.    Since the juvenile was one month old, the
       Respondent has provided no support, either
       monetary or in-kind and he has not paid for medical
       care nor attended any medical appointments for the
       juvenile. The Respondent last saw the juvenile when
       the child was 4–6 months old. Since the juvenile was
       one month old, he has purchased or provided no
       birthday gifts or Christmas gifts and has not
       acknowledged those holidays in any fashion for the
       minor child.

16.    Testifying on Petitioner’s behalf, her father and
       mother confirmed that Respondent only visited
       initially when the juvenile was living with
       Petitioner’s mother and that while the juvenile
       resided with Petitioner’s father, the Respondent did
       not visit. Both also confirmed that Respondent had
       provided no support, cards, or gifts that they were
       aware of and Respondent had never contacted either
       one of them to try to have contact with the juvenile.

....
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18.   The Respondent admittedly had a terrible addiction
      to opioids. His criminal record was introduced
      with[out] objection from Dare and Currituck
      Counties which showed a variety of criminal
      convictions involving drugs as well as a
      misdemeanor conviction for tampering with a motor
      vehicle and for resisting an officer. He was convicted
      in Virginia for felony possession with intent to sell
      and deliver a Schedule I substance, heroin. Between
      his local jail time and his prison time in Virginia, he
      was incarcerated from October 2016 to July 2019. He
      also was in jail in North Carolina for periods of time
      prior to that.

19.   There was conflicting testimony regarding
      Respondent’s contact with Petitioner while he was
      incarcerated. . . . [T]he Court finds that Respondent
      contacted Petitioner one time in December 2018.
      Petitioner asked Respondent to agree for the
      juvenile’s last name to be changed. Respondent
      disagreed and indicated he had a prison lawyer who
      told him all he had to do was file for custody when
      he was released and that he would get shared
      custody of the child and that he intended to do that.
      The parties argued and then hung up.

20.   Despite indicating he was aware he could file an
      action to receive custody, Respondent has never filed
      an action to receive custody or visitation.

21.   Respondent was released from prison in July 2019.
      Petitioner learned that he was out of prison via
      Facebook as he did not contact her or try to see the
      juvenile.   Petitioner    contacted    Respondent’s
      grandmother to determine if he was out of prison
      and then Respondent contacted Petitioner from the
      grandmother’s phone. Petitioner again asked him to
      agree to change the child’s last name. He refused
      and indicated his intent to see the juvenile. Yet, he
      never followed through in any way with this intent
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      prior to the filing of the termination of parental
      rights action.

22.   While Respondent was incarcerated, Petitioner kept
      in contact with his grandmother. She visited with
      the juvenile on occasion, and sent gifts and cards
      signed by her on the juvenile’s birthdays and
      Christmas. On one occasion when she was unable to
      see the child, she sent a card and a money card so he
      could buy a present for himself. She never indicated
      to Petitioner that the money card, gifts, or cards
      were from Respondent. Although Respondent
      asserts that the gifts and money provided by his
      grandmother were from him, there is no evidence to
      support such an assertion. Thus, the Court finds
      those items to be from the grandmother.

23.   Respondent had a conduit to send money, cards,
      letters or gifts to the juvenile from himself. He could
      have written letters to the child to show his interest
      and even if Respondent would not have accepted the
      letters, his grandmother could have saved them to
      prove his interest. He failed entirely to do anything
      to support or show interest in the juvenile.

24.   Petitioner never filed a child support action but she
      also never told Respondent or his grandmother that
      she would not accept support, money, or gifts for the
      juvenile. Both parties testified that Petitioner
      accused Respondent of never having supported the
      juvenile and having told Respondent that if he had
      gifts for the child, he should send them to him.
      Respondent failed to send support, money or gifts.

25.   Based upon Respondent’s lack of involvement
      throughout the juvenile’s life, his apparent lack of
      interest during his incarceration and his failure to
      affirmatively do anything to assert his parental
      rights before the filing of this action, there is a
      reasonable probability that his lack of involvement
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      would continue.

26.   Petitioner did not encourage Respondent to have
      contact with the juvenile. She told him to forget
      about the juvenile. Petitioner tried to keep in contact
      with Respondent’s sister but she was rebuffed.
      Respondent’s father died prior to Respondent’s
      incarceration and his mother was never involved
      with the juvenile. Petitioner did keep in touch with
      Respondent’s grandmother . . . .

27.   Between the time the parties spoke in August 2019
      and filing of the action in November 2019,
      Respondent did not attempt to see the juvenile. He
      provided no support of gifts. He showed no further
      interest. He did not file an action to establish a
      relationship with the juvenile. After the termination
      of parental rights action was filed, Respondent was
      served and he established his relationship with his
      court appointed attorney. He began contacting
      Petitioner in early 2020.

28.   The parties set up a meeting in March 2020 because
      Respondent wanted Petitioner to see for herself that
      he had changed. . . . Respondent did not show up at
      the meeting set up between the parties. Thereafter,
      Petitioner answered few of Respondent’s texts and
      he did not call her. Petitioner eventually blocked
      Respondent’s number on her phone. Petitioner did
      not encourage Respondent’s desire to have contact
      with the juvenile and did not allow such. (All of this
      exchange occurred months after the termination
      action was filed.)

29.   The juvenile does not know who the Respondent is.
      He has not seen his father since he was 4–6 months
      old. From that time until the Respondent was
      incarcerated, Respondent did not attempt to contact
      the juvenile or the Petitioner and showed no
      interest. There is no bond between the Respondent
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                           and the juvenile. The juvenile considers Petitioner’s
                           boyfriend to be his father as he has raised him since
                           he was 10 months old.

                    30.    The Petitioner lives . . . at the address listed on the
                           petition for termination of parental rights.
                           Respondent claims to have only learned her address
                           at the hearing but admitted was served with the
                           petition on November 7, 2019 and that he read the
                           petition (which contained Petitioner’s address) . . . .

¶ 11         Respondent argues that the findings do not support a conclusion of his

       abandonment for three reasons. First, while he did not initiate adversarial legal

       proceedings to force petitioner to allow respondent to see the minor child, respondent

       took steps toward that goal. As stated in his brief to this Court, respondent called

       petitioner and said “(1) he wanted to be involved in Charlie’s life, (2) he was going to

       see Charlie, and (3) he was going to be a father to Charlie.”

¶ 12         Second, after petitioner refused to allow respondent to see the minor child, she

       asked respondent to sign papers allowing her to change the minor child’s name.

       However, as respondent contends, petitioner could have petitioned to change the

       minor child’s name without his consent if she believed respondent had abandoned the

       minor child. By asking respondent’s consent to change the minor child’s name,

       respondent contends, petitioner evidenced a belief that respondent did not abandon

       the minor child.

¶ 13         Third, respondent refused to sign papers allowing petitioner to change the

       minor child’s name. In sum, respondent argues that this is not a case of a parent
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       doing nothing for six months preceding the filing of a termination action, but one of

       a parent who asserted his intent to be a father to his son without aggressively

       inserting himself into his son’s life immediately after completing three years in

       prison. We disagree.

¶ 14         “[I]f a parent withholds his presence, his love, his care, the opportunity to

       display filial affection, and wil[l]fully neglects to lend support and maintenance, such

       parent relinquishes all parental claims and abandons the child.” Pratt, 257 N.C. at

       501; see also In re Apa, 59 N.C. App. 322, 324 (1982) (affirming an order terminating

       parental rights of the father based on abandonment where the court’s unchallenged

       findings provided that “except for an abandoned attempt to negotiate visitation and

       support, respondent ‘made no other significant attempts to establish a relationship

       with [the minor child] or obtain rights of visitation with [the minor child].’ ”).

¶ 15         Here, the court’s findings demonstrate that respondent had not seen the minor

       child, born in February 2014, since the minor child was four-to-six months old. Since

       the child was four-to-six months old but prior to respondent’s three-year

       incarceration, respondent did not contact the minor child. While incarcerated,

       respondent had a conduit to the minor child through respondent’s grandmother but

       nevertheless failed to send money, gifts, cards, or letters to the minor child. Upon his

       release from prison and prior to the filing of the termination petition, respondent

       made no attempt to communicate with the minor child. Despite repeated statements
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       that he intended to petition the courts for custody and visitation, respondent failed

       to do so. These facts evidence the lack of care, support, and maintenance that indicate

       abandonment. Accordingly, we uphold the trial court’s conclusion that respondent

       willfully abandoned the minor child and clear, cogent, and convincing evidence

       supports the termination of respondent’s parental rights. See N.C.G.S. § 7B-

       1111(a)(7).

¶ 16         Respondent does not challenge the trial court’s dispositional determination

       that it was in the minor child’s best interests that respondent’s parental rights be

       terminated. Therefore, we affirm the trial court’s order terminating respondent’s

       parental rights.

             AFFIRMED.
